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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


KAYLYN BROCK, et al.,

         Plaintiffs,
                                                     Case No. 1:21-cv-436
v.
                                                     Hon. Hala Y. Jarbou
MICHIGAN STATE UNIVERSITY, et al.,

      Defendants.
____________________________/

                                NOTICE OF IMPENDING DISMISSAL

         The court records indicate that more than 60 days have passed from the filing of the above

complaint and Defendant Raquel McCrimmon has not been served. This notice serves to inform

Plaintiffs that the action shall be dismissed without prejudice as to Defendant Raquel McCrimmon,

unless Plaintiffs complete service of process within 90 days after the filing of the complaint, in

accordance with Fed. R. Civ. P. 4(m).



Dated:     July 27, 2021                              /s/ Hala Y. Jarbou
                                                     HALA Y. JARBOU
                                                     UNITED STATES DISTRICT JUDGE
